

Matter of Henderson (2024 NY Slip Op 03121)





Matter of Henderson


2024 NY Slip Op 03121


Decided on June 6, 2024


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:June 6, 2024

PM-115-24
[*1]In the Matter of Thomas James Henderson, an Attorney. (Attorney Registration No. 5958467.)

Calendar Date:May 28, 2024

Before:Garry, P.J., Pritzker, Reynolds Fitzgerald, Fisher and Powers, JJ.

Thomas James Henderson, Sydney, Australia, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Thomas James Henderson was admitted to practice by this Court in 2022 and lists a business address in Sydney, Australia with the Office of Court Administration. Henderson now seeks leave to resign from the New York bar for nondisciplinary reasons (see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application by correspondence from its Deputy Chief Attorney.
As is noted by AGC, Henderson is presently delinquent in his New York attorney registration requirements, having failed to register for the 2024-2025 biennial period (see Judiciary Law § 468-a; Rules of Chief Admr of Cts [22 NYCRR] § 118.1). Inasmuch as Henderson is therefore subject to potential disciplinary action (see Judiciary Law § 468-a [5]; Rules of Prof Conduct [22 NYCRR 1200.0] rule 8.4 [d]; see also Matter of Attorneys in Violation of Judiciary Law § 468-a, 113 AD3d 1020, 1021 [3d Dept 2014]), he is ineligible for nondisciplinary resignation and his application must be denied (see Matter of Cluff, 148 AD3d 1346, 1346-1347 [3d Dept 2017]; Matter of Bomba, 146 AD3d 1226, 1226-1227 [3d Dept 2017]). Further, any future application by Henderson must be supported by proof of his full satisfaction of the requirements of Judiciary Law § 468-a and Rules of the Chief Administrator of the Courts (22 NYCRR) § 118.1 (see Matter of Frank, 146 AD3d 1228, 1228-1229 [3d Dept 2017]).
Garry, P.J., Pritzker, Reynolds Fitzgerald, Fisher and Powers, JJ., concur.
ORDERED that Thomas James Henderson's application for permission to resign is denied.








